                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )   Case No.: 1:23-cr-00103-LEW
                                             )
                                             )
ANGELO CASTIGLIOLA,                          )
              Defendant.                     )


             MOTION TO ENLARGE DEADLINES AND CONTINUE

NOW COMES the Defendant, by and through his Undersigned Counsel, and

hereby requests that this Honorable Court enlarge the procedural deadlines in

this matter and continue the case to the April trial list, and in support thereof

states as follows:

      1.     The Defendant has been charged with one (1) count of Making

Repeated Telephone Calls with Intent to Harass (Class E Felony) and two (2)

counts of Transmitting Threatening Interstate Communication (Class D Felony).

      2.     The Defense is in need of additional time to conduct its investigation,

as well as explore defenses and mitigating information.

      3.     For these reasons, the Defense is requesting that deadlines in this

matter be enlarged as follows:

             a. The deadline for filing any pretrial motions reset to March 18,

                2024; and

             b. Disclosure of expert witnesses by April 1, 2024.




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      4.    In addition, due to the enlargement of these deadlines, the Defense

is requesting that the matter be continued to the April trial list.

      5.    The Defense has consulted with the Government, and they do not

object to this motion.

      6.    The Defendant waives his right to a speedy trial and consents to

such time being excludable pursuant to Title 18, United States Code §

3161(h)(7)(A), and further states that the interest of justice would be furthered

by the continuance/enlargement of time for the reasons stated herein.

      WHEREFORE, the Defense respectfully requests this Court grant this

motion in all respects and order any further relief it deems just and proper.



                                             Respectfully submitted,




Dated: December 22, 2023                     /s/ Scott Hess
                                             Scott Hess, Esq., BBO #004508
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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE


                         CERTIFICATE OF SERVICE

      I hereby certify that on December 22, 2023, I filed the foregoing Motion to
Enlarge Deadlines and Continue using the Court’s CM/ECF system, which will
cause a copy of the Motion to be sent to all counsel of record.




                                            /s/ Scott Hess
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